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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FEDERAL TRADE COMMISSION et al.,
                Plaintiffs,

                     v.                                              CIVIL ACTION
                                                                     NO. 20-01113
 THOMAS JEFFERSON UNIVERSITY et
 al.,
                Defendants.



                                               ORDER

        AND NOW, this 8th day of December, 2020, it is ORDERED that the exhibits

listed in Exhibits A and B to ECF 274 and in Appendix A to ECF 275 are ADMITTED.

        It is FURTHER ORDERED that the motions at ECF 129, 130, 173, 218, 257,

265 and 267 are DENIED. The motion at ECF 163 is GRANTED to the extent that it

seeks to keep PX1074, PX1261, PX1310, PX1365, PX1395, PX1404, PX6049, DX9372

and DX 9438 under seal, see (ECF 232), and is DENIED in all other respects. 1



1        “It is well-settled that there exists, in both criminal and civil cases, a common law public
right of access to judicial proceedings and records.” Littlejohn v. BIC Corp., 851 F.2d 673, 677-78 (3d
Cir. 1988). “The ‘strong presumption of openness does not permit the routine closing of judicial
records to the public.’” In re Avandia Mktg., Sales Practices & Prod. Liab. Litig., 924 F.3d 662, 672
(3d Cir. 2019) (quoting Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994)). Parties “seeking to seal
any part of a judicial record bear[ ] the heavy burden of showing that ‘the material is the kind of
information that courts will protect’ and that ‘disclosure will work a clearly defined and serious
injury to the party seeking closure.’” Miller, 16 F.3d at 551 (quoting Publicker Indus., Inc. v. Cohen,
733 F.2d 1059, 1071 (3d Cir. 1984)). “Broad allegations of harm, bereft of specific examples or
articulated reasoning, are insufficient.” In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001)
(internal citation omitted).

         The Court has reviewed all documents and materials received from the parties in this
litigation and previously placed certain documents under seal. See (ECF 232.) Parties and third
parties seeking to seal any other documents have not met their burden to show that disclosure will
work the kind of clearly defined and serious injury that a sealing order is intended to protect and
have not rebutted the strong presumption of openness. In addition, to the extent that parties and
third parties seek to seal information because it has been designated as “confidential” or “highly
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                                                               BY THE COURT:



                                                                /s/ Gerald J. Pappert
                                                               ________________________
                                                               GERALD J. PAPPERT, J.




confidential” in accordance with the terms of the parties’ Stipulated Protected Order (ECF 55), the
Court finds that disclosure of this information is in the interest of justice. See (ECF 55 at ¶ 19.)



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